       Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 1 of 59



                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
AMERICAN CIVIL LIBERTIES UNION, Inc.,        )
AMERICAN CIVIL LIBERTIES UNION               )
FOUNDATION, Inc.,                            )
        125 Broad Street, 18th Floor         )
        New York, NY 10004                   )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )    No. 1:17-cv-01351 (CKK)
                                             )
DONALD TRUMP, in his official capacity       )
as President of the United States,           )
        1600 Pennsylvania Avenue NW          )
        Washington, DC 20500,                )
                                             )
MICHAEL PENCE, in his official capacity      )
as Vice President of the United States       )
and chair of the Presidential Advisory       )
Commission on Election Integrity,            )
        Eisenhower Executive Office Building )
        1650 Pennsylvania Avenue NW          )
        Washington, DC 20502,                )
                                             )
PRESIDENTIAL ADVISORY                        )
COMMISSION ON ELECTION INTEGRITY,            )
an advisory committee commissioned           )
by President Donald Trump,                   )
        Eisenhower Executive Office Building )
        1650 Pennsylvania Avenue NW          )
        Washington, DC 20502,                )
                                             )
TIMOTHY HORNE, in his official capacity      )
as Acting Administrator of the General       )
Services Administration,                     )
        1800 F Street, NW                    )
        Washington, DC, 20405,               )
                                             )
caption continued on next page               )
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 2 of 59



M. VIRGINIA WILLS, in her official capacity
                                          )
as Committee Management Officer of the    )
Presidential Advisory Commission on       )
Election Integrity,                       )
       1800 F Street, NW                  )
       Washington, DC, 20405,             )
                                          )
GENERAL SERVICES ADMINISTRATION,          )
      1800 F Street, NW                   )
      Washington, DC, 20405,              )
                                          )
      Defendants.                         )
__________________________________________)

                        AMENDED COMPLAINT FOR
              DECLARATORY, INJUNCTIVE, AND MANDAMUS RELIEF

       Plaintiffs American Civil Liberties Union and American Civil Liberties Union

Foundation (together, the “ACLU”) bring this action against Donald Trump, in his official

capacity as President of the United States (“President Trump”), Michael Pence, in his official

capacity as Vice President of the United States and Chair of the Presidential Advisory

Commission on Election Integrity (“Vice President Pence”), the Presidential Advisory

Commission on Election Integrity (“Pence-Kobach Commission”), Timothy Horne, in his

official capacity as Acting Administrator of the General Services Administration, M. Virginia

Wills, in her official capacity as Committee Management Officer (“CMO”) of the Presidential

Advisory Commission on Election Integrity, and the General Services Administration (“GSA”),

a federal agency (collectively, “Defendants”), seeking declaratory and injunctive relief pursuant

to the Administrative Procedure Act (“APA”), 5 U.S.C. § 706 and because Defendants are acting

ultra vires, and in the alternative, relief in the nature of mandamus compelling Defendants to

comply with the nondiscretionary requirements of the Federal Advisory Committee Act

(“FACA”), 5 U.S.C. app. 2 §§ 1-16, and a declaration that Defendants have violated FACA.




                                               2
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 3 of 59



       Defendants have violated FACA in two respects.            First, Defendants have already

violated, and absent relief, will continue to violate the non-discretionary transparency and public

access requirements of § 10 of FACA, 5 U.S.C. app. 2 § 10. The Pence-Kobach Commission

held its first meeting without public notice; without making that meeting open to the public; and

without timely notice in the Federal Register, id. § 10(a). It has also failed to make all of its

“records, reports, transcripts, minutes, appendixes, working papers, drafts, studies, agenda, or

other documents which were made available to or prepared for or by” the Pence-Kobach

Commission “available for public inspection,” id. § 10(b). The second meeting of the Pence-

Kobach Commission was held in a building generally inaccessible to the public, and only a

limited subset of the documents already relied upon by the Commission have been made

available to the public, contrary to the earlier representations by the Commission’s Designated

Federal Officer that all documents prepared for the second meeting would be posted on the

Commission’s hastily created website prior to that meeting.

       Second, Defendants have violated requirements under § 5 of FACA, 5 U.S.C. app. 2 § 5,

that an advisory committee’s membership be “fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee,” id. § 5(b)(2); and that

“appropriate provisions” be made “to assure that the advice and recommendations of the

advisory committee will not be inappropriately influenced by the appointing authority or by any

special interest, but will instead be the result of the advisory committee’s independent

judgment[,]” id. § 5(b)(3). The Pence-Kobach Commission’s stated purpose is to “study the

registration and voting processes used in Federal elections” and “submit a report to the

President” on related “laws, rules, policies, activities, strategies, and practices.” Exec. Order

No. 13,799, § 3, 82 Fed. Reg. 22389 (May 11, 2017).           But, in fact, the Commission was



                                                3
           Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 4 of 59



established for the purpose of providing a veneer of legitimacy to President Trump’s false claim

that he won the popular vote in the 2016 election—once millions of supposedly illegal votes are

subtracted from the count. That purpose is evident in the composition of the Commission, which

is stacked with individuals who have endorsed the President’s false statements about the popular

vote, and the fact that no provisions whatsoever have been made to insulate the Commission’s

advice and recommendations from inappropriate influence by the person who appointed the

Commission’s members—i.e., President Trump himself—or from particular special interests.

         Defendants have also violated the APA both by acting arbitrarily and outside the legal

authority of the Commission, and through the various failures to comply with FACA, which all

constitute final agency action. Likewise, apart from the statutory framework of the APA, each

authority of the government can act only as provided by the Constitution or to the extent

Congress has prescribed their “power to act and how they are to act.” City of Arlington v. F.C.C.,

569 U.S. 290, 297 (2013). Any other exercise of authority is void as ultra vires. By conducting

activities outside the scope of authority provided for in the Executive Order and Commission

Charter, and by failing to comply with the limitations of FACA, Defendants have acted ultra

vires.

                                         THE PARTIES

         1.     Plaintiff American Civil Liberties Union is a 501(c)(4) non-profit, nationwide,

non-partisan membership organization with approximately 1.6 million members, many of whom

are registered voters. The ACLU is dedicated to the principles of liberty and equality embodied

in the Constitution and our nation’s civil rights laws, including laws protecting access to the right

to vote.




                                                 4
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 5 of 59



       2.      Plaintiff American Civil Liberties Union Foundation is a 501(c)(3) non-profit,

nationwide, non-partisan organization with nearly 300 staff attorneys, thousands of volunteer

attorneys, and offices throughout the nation. Since 1965, the ACLU, through its Voting Rights

Project, has litigated hundreds of voting rights cases and has a direct interest in ensuring that all

eligible citizens are able to access the franchise and are not removed from voter rolls, and in

empowering those targeted by vote suppression. The ACLU regularly litigates cases in which

government officials attempt to limit access to the franchise and keep eligible voters off the

registration rolls, and therefore has a direct interest in the purported purpose of the Presidential

Advisory Commission on Election Integrity (“Pence-Kobach Commission”).

       3.      Defendant Donald Trump is the President of the United States. He is sued in his

official capacity.   In that capacity, he issued Executive Order 13,799 of May 11, 2017,

establishing the Pence-Kobach Commission, and appoints the members of the Commission.

       4.      Defendant Michael Pence is the Vice President of the United States. He is sued in

his official capacity. In that capacity, Vice President Pence is the chair of the Pence-Kobach

Commission. Exec. Order No. 13,799, § 2.

       5.      Defendant Presidential Advisory Commission on Election Integrity (“Pence-

Kobach Commission”) was established by President Trump pursuant to Executive Order 13,799,

and is a presidential advisory committee. Exec. Order No. 13,799.

       6.      Defendant Timothy Horne is the Acting Administrator of the General Services

Administration (“GSA”).      He is sued in his official capacity.      In that capacity, under the

Executive Order creating the Pence-Kobach Commission, he performs all of the functions of the

President under FACA except those of § 6. Exec. Order No. 13,799, § 7(c). As head of the




                                                 5
           Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 6 of 59



GSA, Administrator Horne designated both the Committee Management Officer and the

Designated Federal Officer of the Pence-Kobach Commission.

       7.        Defendant M. Virginia Wills is the Committee Management Officer (“CMO”) of

the Pence-Kobach Commission and for all other advisory committees housed in the GSA.

       8.        Defendant General Services Administration (“GSA”) is a federal agency charged

with providing the Pence-Kobach Commission “with such administrative services, funds,

facilities, staff, equipment, and other support services as may be necessary to carry out its

mission.” Exec. Order No. 13,799, § 7(a). The Commission’s Designated Federal Officer has

represented that the Commission’s documents will be housed for public inspection at the GSA.

Kossack Decl., ¶ 10, ECF No. 16-1. The charter of the Pence-Kobach Commission designates

the GSA as the “Agency Responsible for Providing Support,” and that the GSA “shall provide

the Commission with such administrative services, funds, facilities, staff, equipment, and other

support services as may be necessary to carry out its mission . . . on a reimbursable basis.”

Charter,     Presidential   Advisory   Comm’n      on   Election    Integrity   ¶   6,   available   at

https://www.facadatabase.gov/download.aspx?fn=Charters/2612_2017.06.23_Charter-

Presidential%20Commission%20on%20Election%20Integrity_(2017-06-23-06-32-07).docx

[hereinafter Charter].      The GSA filed the Charter of the Pence-Kobach Commission and

published each of the Commission’s five notices in the Federal Register.

                                  JURISDICTION AND VENUE

       9.        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1361 and 5 U.S.C.

§§ 701-706. Plaintiffs also seek relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       10.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(e).




                                                   6
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 7 of 59



                                             FACTS

I.     Statutory and Regulatory Framework

       11.       The Federal Advisory Committee Act (“FACA”), 5 U.S.C. app. 2 §§ 1-16, was

enacted because of the congressional concern with the number and utility of advisory

committees. Congress found, among other things, that committees “should be established only

when they are determined to be essential” and that “Congress and the public” should be kept

abreast of their activities. 5 U.S.C. app. 2 § 2(b). “FACA’s principal purpose was to establish

procedures aimed at enhancing public accountability of federal advisory committees.” Ctr. for

Law & Educ. v. U.S. Dep’t of Educ., 209 F. Supp. 2d 102, 113 (D.D.C. 2002), aff’d, 396 F.3d

1152 (D.C. Cir. 2005); see also Food Chem. News, Inc. v. Davis, 378 F. Supp. 1048, 1051

(D.D.C. 1974) (purpose of FACA is “to control the advisory committee process and to open to

public scrutiny the manner in which government agencies obtain advice from private

individuals”).

       12.       FACA applies to “any committee, board, commission, council, conference, panel,

task force, or other similar group, or any subcommittee or other subgroup thereof . . . established

or utilized by the President . . . in the interest of obtaining advice or recommendations for the

President,” denominating such groups as “advisory committees.” 5 U.S.C. app. 2 § 3(2).

       13.       Only those committees that are “composed wholly of full-time, or permanent part-

time, officers or employees of the Federal Government” or “created by the National Academy of

Sciences or the National Academy of Public Administration” fall outside the definition of

“advisory committee” under the Act. 5 U.S.C. app. 2 § 3(2). And all of the provisions of FACA

apply to advisory committees except when an “Act of Congress establishing any such advisory

committee specifically provides otherwise.” 5 U.S.C. app. 2 § 4(a).



                                                 7
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 8 of 59



       14.     FACA requires that in establishing an advisory committee, the President “shall”

follow the guidelines of the statute, 5 U.S.C. app. 2 § 5(c), including that the directive

establishing the advisory committee must, among other things, “require the membership of the

advisory committee to be fairly balanced in terms of the points of view represented and the

functions to be performed by the advisory committee” and “contain appropriate provisions to

assure that the advice and recommendations of the advisory committee will not be

inappropriately influenced by the appointing authority or by any special interest, but will instead

be the result of the advisory committee’s independent judgment.” 5 U.S.C. app. 2 § 5(b)(2)-(3).

       15.     The implementing regulations require each advisory committee to have a plan to

attain fairly balanced membership. The plan must “ensure that, in the selection of members for

the advisory committee, the agency will consider a cross-section of those directly affected,

interested, and qualified, as appropriate to the nature and functions of the advisory committee.

Advisory committees requiring technical expertise should include persons with demonstrated

professional or personal qualifications and experience relevant to the functions and tasks to be

performed.” 41 C.F.R. § 102-3.60(b)(3).

       16.     FACA provides that the “head of each agency which has an advisory committee

shall designate an Advisory Committee Management Officer who shall— (1) exercise control

and supervision over the establishment, procedures, and accomplishments of advisory

committees established by that agency; (2) assemble and maintain the reports, records, and other

papers of any such committee during its existence; and (3) carry out, on behalf of that agency,

the provisions of section 552 of title 5, United States Code, with respect to such reports, records,

and other papers.” 5 U.S.C. app. 2 § 8(b).




                                                 8
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 9 of 59



       17.     In addition to the duties specified in 5 U.S.C. app. 2 § 8(b), the CMO “will carry

out all responsibilities delegated by the agency head” and “ensure that sections 10(b), 12(a), and

13 of [FACA] are implemented by the agency to provide for appropriate recordkeeping.” 41

C.F.R. § 102-3.115.

       18.     The charter of each advisory committee must be filed by the “the Committee

Management Officer (CMO) designated in accordance with section 8(b) of the Act, or . . .

another agency official designated by the agency head.” 41 C.F.R. § 102-3.70.

       19.     Each advisory committee has a Designated Federal Officer (“DFO”) that must be

designated by the agency head or “in the case of an independent Presidential advisory

committee, the Secretariat.” 41 C.F.R. § 102-3.120.

       20.     The agency head that “establishes or utilizes one or more advisory committees”

must designate both the CMO and the DFO. 41 C.F.R. § 102-3.105.

       21.     FACA further provides that “[n]o advisory committee shall meet or take any

action until an advisory committee charter has been filed.” 5 U.S.C. app. 2 § 9(c).

       22.     FACA demands transparency in the procedures and meetings of advisory

committees. All advisory committee meetings must be open to the public and must be timely

noticed in the Federal Register. 5 U.S.C. app. 2 § 10(a)(1)-(2). Interested members of the public

must “be permitted to attend, appear before, or file statements with any advisory committee,”

subject only to “reasonable” regulations set by the Administrator of General Services. Id.

§ 10(a)(3). Although portions of meetings may be closed where the President determines that

closure is provided for pursuant to 5 U.S.C. § 552b(c) (the federal Open Meetings statute), any

such determination must be made in writing and set forth the reasons for the conclusion.

5 U.S.C. app. 2 § 10(d).



                                                9
           Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 10 of 59



       23.        Advisory committee meetings must be noticed in the Federal Register at least

fifteen days before the meeting is to be held. 41 C.F.R. § 102-3.150(a).

       24.        Each advisory committee meeting must be “held at a reasonable time and in a

manner or place reasonably accessible to the public,” and in a place sufficient to accommodate

“a reasonable number of interested members of the public.” 41 C.F.R. § 102-3.140(a)-(b).

       25.        If an advisory committee meeting is held via teleconference, videoconference, or

other electronic medium, it still must be made accessible to the public. 41 C.F.R. § 102-3.140(e).

       26.        Subject to the provisions of the Freedom of Information Act (“FOIA”), 5 U.S.C.

§ 552, “the records, reports, transcripts, minutes, appendixes, working papers, drafts, studies,

agenda, or other documents which were made available to or prepared for or by each advisory

committee shall be available for public inspection and copying at a single location in the offices

of the advisory committee or the agency to which the advisory committee reports.” 5 U.S.C.

app. 2 § 10(b).

       27.        FACA mandates that “[d]etailed minutes of each meeting of each advisory

committee shall be kept and shall contain a record of the persons present, a complete and

accurate description of matters discussed and conclusions reached, and copies of all reports

received, issued, or approved by the advisory committee. The accuracy of all minutes shall be

certified to by the chairman of the advisory committee.” 5 U.S.C. app. 2 § 10(c).

       28.        Advisory committees must make available copies of transcripts of advisory

committee meetings to “any person” at only the “actual cost of duplication.” 5 U.S.C. app. 2

§ 11(a).

       29.        Each of the requirements of FACA is mandatory on the appointing authority, in

this case, President Trump, and on the advisory committee itself.



                                                 10
          Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 11 of 59



         30.    The Administrative Procedure Act governs agency action, defining “agency” as

“each authority of the Government of the United States, whether or not it is within or subject to

review by another agency,” with a number of exceptions not relevant here. 5 U.S.C. § 701(b).

II.      The Creation of the Pence-Kobach Commission

      A. Events Leading to the Creation of the Pence-Kobach Commission

         31.    Following the 2016 Presidential Election, the official results of the popular vote

indicated that 65,853,516 votes were cast for Democratic nominee, Hillary Rodham Clinton, and

62,984,825 votes were cast for Republican nominee, Donald Trump, and the official results of

the Electoral College indicated that 227 Electoral College votes were cast for Democratic

nominee Hillary Rodham Clinton, and 304 Electoral College votes were cast for Republican

nominee Donald Trump. Federal Election Commission (“FEC”), Official 2016 Presidential

General Election Results (Jan. 30, 2017), available at https://transition.fec.gov/pubrec/

fe2016/2016presgeresults.pdf.

         32.    On November 20, 2016, President Elect Trump met with Kansas Secretary of

State Kris Kobach, now-Vice Chair of the Pence-Kobach Commission. Outside that meeting,

now-Vice Chair Kobach was photographed by the Associated Press with a document that

appeared to reference proposed amendments to the National Voter Registration Act of 1993

(“NVRA”), 52 U.S.C. §§ 20501-511. See, e.g., Peter Hancock, Kobach Ordered To Turn Over

Document He Used in Meeting with Trump, Lawrence J.-World (Apr. 5, 2017),

http://www2.ljworld.com/news/2017/apr/05/kobach-ordered-turn-over-document-he-used-

meeting-/; see also Order, Fish v. Kobach, No. 16-cv-2105-JAR-JPO (D. Kan. Apr. 17, 2017),

ECF No. 320; Order, Fish v. Kobach, No. 16-cv-2105-JAR-JPO (D. Kan. June 23, 2017), ECF

No. 355.



                                                11
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 12 of 59



       33.       The documents laid out specific additions and deletions to the NVRA. Ex.EE,

Fish v. Kobach, No. 16-cv-2105-JAR-JPO (D. Kan. Aug. 30, 2017), ECF No. 396-3; Exhibit U,

Fish v. Kobach, No. 16-cv-2105-JAR-JPO (D. Kan. July 24, 2017), ECF No. 373-3.

       34.       In attempting to prevent the public release of these documents in July 2017, Vice

Chair Kobach cited his role on the Pence-Kobach Commission, stating that the release of the

documents “would undermine Secretary Kobach’s interest in fulfilling his appointed duty and

responsibilities on the Presidential Election Commission which include being able to advise the

President privately on matters within the purview of the Commission.” Def.’s Resp. to Pls.’

Mot. to Unseal at 11, Fish v. Kobach, No. 16-cv-2105-JAR-JPO (D. Kan. July 28, 2017), ECF

No. 376. Now-Vice Chair Kobach, however, proposed these amendments to the NVRA months

before the Commission’s creation, suggesting that as Vice Chair he had already determined what

one recommendation of the Pence-Kobach Commission would be, prior to any study or

deliberation.

       35.       On November 27, 2016, President Elect Trump tweeted, “In addition to winning

the Electoral College in a landslide, I won the popular vote if you deduct the millions of people

who voted illegally.” See Donald Trump (@realDonaldTrump), Twitter (Nov. 27, 2016, 12:30

PM), https://twitter.com/realDonaldTrump/status/802972944532209664.

       36.       On November 30, 2016, now-Vice Chair Kobach stated, “I think the president-

elect is absolutely correct when he says the number of illegal votes cast exceeds the popular vote

margin between him and Hillary Clinton at this point.” Hunter Woodall, Kris Kobach Agrees

with Donald Trump that ‘Millions’ Voted Illegally But Offers No Evidence, Kan. City Star (Nov.

30,     2016),       http://www.kansascity.com/news/politics-government/article117957143.html

[hereinafter Woodall, Kris Kobach Agrees with Donald Trump].



                                                12
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 13 of 59



        37.     On December 4, 2016, in response to President Trump’s groundless claims

concerning the popular vote, Vice President Pence stated, “I don’t know that that is a false

statement,” and characterized President Trump as “refreshing.” ‘This Week’ Transcript: Vice

President-Elect Mike Pence & Gen. David Petraeus, ABC News (Dec. 4, 2016),

http://abcnews.go.com/Politics/week-transcript-vice-president-elect-mike-pence-

gen/story?id=43952176.

        38.     President Trump has continued to assert, contrary to all available factual evidence

and the findings of the FEC, that he won the popular vote. See, e.g., Charles Ventura, Trump

Revives False Claim That Illegal Ballots Cost Him Popular Vote, USA Today (Jan. 23, 2017),

https://www.usatoday.com/story/news/politics/onpolitics/2017/01/23/president-trump-illegal-

ballots-popular-vote-hillary-clinton/96976246/; Aaron Blake, Donald Trump Claims None of

Those 3 to 5 Million Illegal Votes Were Cast for Him. Zero., Wash. Post (Jan. 26, 2017),

https://www.washingtonpost.com/news/the-fix/wp/2017/01/25/donald-trump-claims-none-of-

those-3-to-5-million-illegal-votes-were-cast-for-him-zero/?tid=a_inl&utm_term=.1e862115ce52.

        39.     In a meeting with congressional leaders on January 24, 2017, President Trump

repeated his claim that he would have won the popular vote if not for millions of votes cast by

illegal voters. See The Latest: Trump Repeats Unproven Claim of Illegal Votes, Associated Press

(Jan. 24, 2017), https://www.apnews.com/2987214f67da4b2d8900bc995e864912.

        40.     In the early morning hours of the following day, President Trump tweeted, “I will

be asking for a major investigation into VOTER FRAUD, including those registered to vote in

two states, those who are illegal and . . . even, those registered to vote who are dead (and many

for a long time). Depending on results, we will strengthen up voting procedures!” Donald

Trump         (@realDonaldTrump),        Twitter        (Jan.   25,     2017,      7:10      AM);



                                                   13
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 14 of 59



https://twitter.com/realDonaldTrump/status/824227824903090176;                  Donald       Trump

(@realDonaldTrump),              Twitter        (Jan.         25,       2017,       7:13       AM),

https://twitter.com/realdonaldtrump/status/824228768227217408?lang=en.

        41.    That same day, in an ABC News interview, in response to questions regarding his

claims that he would have won the popular vote, President Trump stated, “We’re gonna launch

an investigation to find out. And then the next time—and I will say this, of those votes cast,

none of ‘em come to me. None of ‘em come to me. They would all be for the other side. None

of ‘em come to me.” Transcript: ABC News Anchor Interviews President Trump, ABC News

(Jan.    25,    2017),        http://abcnews.go.com/Politics/transcript-abc-news-anchor-david-muir-

interviews-president/story?id=45047602.

        42.    However, President Trump’s own legal team argued that “[a]ll available evidence

suggests that the 2016 general election was not tainted by fraud or mistake.” Donald J. Trump

and Donald J. Trump for President, Inc.’s Objs. to Dr. Jill Stein’s Recount Pet. at 2, In re Pet. for

Recount for the Office of President of the United States of America (Mich. Bd. of State

Canvassers     Dec.      1,    2016),   available       at   https://www.michigan.gov/documents/sos/

Objection_to_Recount_Petition_544089_7.pdf.

        43.    Vice President Pence attended and participated in the January 24 meeting with

congressional leaders at which President Trump asserted he won the popular vote but for illegal

voters. See The Latest: Trump Repeats Unproven Claim of Illegal Votes, Associated Press (Jan.

24, 2017), https://www.apnews.com/2987214f67da4b2d8900bc995e864912.

        44.    On or about January 26, 2017, at an annual Republican policy retreat, Vice

President Pence reportedly reaffirmed, “the concern that you have, I have, the [P]resident

certainly has about people being registered in multiple states.” Mike DeBonis & Sari Horwitz,



                                                    14
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 15 of 59



In Private Meeting, Pence Vows ‘Full Evaluation of Voting Rolls’ Over Claims of Fraud, Wash.

Post (Jan. 27, 2017), https://www.washingtonpost.com/powerpost/in-private-meeting-pence-

vows-fullevaluation-of-voting-rolls-over-claims-of-voting-fraud/2017/01/27/1c1fa1de-e49a-

11e6-a547-5fb9411d332c_story.html?utm_term=.4a7ec39da956.

        45.    On February 9, 2017, at a meeting with ten Senators on the Supreme Court

nomination, President Trump asserted that he and former-Senator Kelly Ayotte would both have

won New Hampshire but for “‘thousands’ of people who were ‘brought in on buses’ from

neighboring Massachusetts to ‘illegally’ vote in New Hampshire.” Eli Stokols, Trump Brings up

Vote Fraud Again, This Time in Meeting with Senators, Politico (Feb. 10, 2017),

http://www.politico.com/story/2017/02/trump-voter-fraud-senators-meeting-234909. No factual

evidence supports that assertion.

        46.    President Trump continued to assert that he would be “proved right” about his

claim that millions of people voted illegally. Ali Vitali, Peter Alexander, & Kelly O’Donnell,

Trump      Establishes   Voter      Fraud   Commission,   NBC    News     (May    11,   2017),

https://www.nbcnews.com/politics/white-house/trump-establish-vote-fraud-commission-

n757796.

   B. Composition of the Pence-Kobach Commission

        47.    On May 11, 2017, President Trump issued Executive Order 13,799, establishing

the Pence-Kobach Commission. The Executive Order provides that the Commission would be

chaired by the Vice President, be composed of not more than fifteen additional members selected

by the President, and that the Vice President may select a vice chair from among the other

members. Exec. Order No. 13,799, § 2.




                                                15
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 16 of 59



       48.     The purported “[m]ission” of the Pence-Kobach Commission is to “study the

registration and voting processes used in Federal elections.” Exec. Order No. 13,799, § 3. The

Commission is to “submit a report to the President that identifies . . . those laws, rules, policies,

activities, strategies, and practices that enhance the American people’s confidence in the integrity

of the voting processes used in Federal elections; . . . those laws, rules, policies, activities,

strategies, and practices that undermine the American people’s confidence in the integrity of the

voting processes used in Federal elections; and . . . those vulnerabilities in voting systems and

practices used for Federal elections that could lead to improper voter registrations and improper

voting, including fraudulent voter registrations and fraudulent voting.” Id.

       49.     Vice Chair Kobach has stated that the Commission’s goal is to “for the first time,

have a nationwide fact-finding effort” focused on assessing “evidence” of “different forms of

voter fraud across the country.” Transcript: Trump Forms Voter Fraud Commission, CNN (May

15, 2017), http://transcripts.cnn.com/TRANSCRIPTS/1705/15/nday.06.html.

       50.     Defendants have repeatedly touted the Pence-Kobach Commission as

“bipartisan.” Press Release, Office of the Press Secretary, President Announces Formation of

Bipartisan    Presidential    Commission       on     Election   Integrity     (May    11,    2017),

https://www.whitehouse.gov/the-press-office/2017/05/11/president-announces-formation-

bipartisan-presidential-commission; Madeline Conway, Kris Kobach Defends Elections

Commission         Voter       Data        Request,        Politico      (July        5,      2017),

http://www.politico.com/story/2017/07/05/kobach-states-voter-data-fraud-240241 (quoting Vice

Chair Kobach defending the broad data request touting “this bipartisan commission”).

       51.     The Executive Order does not contain any provisions that “require the

membership of the advisory committee to be fairly balanced in terms of the points of view



                                                 16
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 17 of 59



represented and the functions to be performed by the advisory committee” or to “assure that the

advice and recommendations of the advisory committee will not be inappropriately influenced by

the appointing authority,” 5 U.S.C. app. 2 § 5(b)(2)-(3), in this case, President Trump. See Exec.

Order No. 13,799.

       52.         On June 23, 2017, the GSA filed the charter of the Pence-Kobach Commission,

See Kossack Decl. ¶ 2, Ex. A, ECF No. 16-1. The filing of an advisory committee charter is a

power designated to “the Committee Management Officer (CMO) designated in accordance with

section 8(b) of the Act, or . . . another agency official designated by the agency head.” 41 C.F.R.

§ 102-3.70.

       53.         Like the Executive Order, the charter of the Pence-Kobach Commission does not

contain any provisions that “require the membership of the advisory committee to be fairly

balanced in terms of the points of view represented and the functions to be performed by the

advisory committee” or to “assure that the advice and recommendations of the advisory

committee will not be inappropriately influenced by the appointing authority,” 5 U.S.C. app. 2

§ 5(b)(2)-(3), in this case, President Trump. See Charter.

       54.         Also on May 11, 2017, President Trump named Secretary Kobach as Vice Chair

of the Commission.         Press Release, Office of the Press Secretary, President Announces

Formation of Bipartisan Presidential Commission on Election Integrity (May 11, 2017),

available     at     https://www.whitehouse.gov/the-press-office/2017/05/11/president-announces-

formation-bipartisan-presidential-commission [hereinafter “Executive Order Release”].

       55.         Upon the issuance of the Executive Order, President Trump also named five

additional members of the Pence-Kobach Commission: Connie Lawson, Secretary of State of

Indiana; Bill Gardner, Secretary of State of New Hampshire; Matthew Dunlap, Secretary of State



                                                 17
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 18 of 59



of Maine; Ken Blackwell, Former Secretary of State of Ohio; and Christy McCormick,

Commissioner, Election Assistance Commission (“EAC”). See Executive Order Release.

       56.     At least four out of these six initial appointees to the Commission have a record of

making exaggerated and/or baseless claims about voter fraud, and/or have implemented or

supported policies that have unlawfully disenfranchised voters.

       57.     Vice Chair Kobach has repeatedly made exaggerated claims about non-citizen

voting. The United States Court of Appeals for the Tenth Circuit, in a decision finding that

Secretary Kobach has engaged in the “mass denial of a fundamental constitutional right,”

because he disenfranchised 18,000 motor-voter applicants in Kansas, found that Secretary

Kobach’s assertions about widespread non-citizen voting were “pure speculation.” Fish v.

Kobach, 840 F.3d 710, 755 (10th Cir. 2016). In the same case, Secretary Kobach was sanctioned

by the magistrate judge for “deceptive conduct and lack of candor,” and for making “patently

misleading representations to the court” about the document that he carried into his November

20, 2016 meeting with President-elect Trump. Fish v. Kobach, No. 16-cv-2105-JAR, 2017 WL

2719427, at *2-*3, *5 (D. Kan. June 23, 2017); see also Fish v. Kobach, No. 16-cv-2105-JAR,

slip op. at 8 n.27 (D. Kan. July 25, 2017), ECF No. 374 (affirming magistrate judge’s grant of

sanctions, noting that the representations at issue were not the only “statements made or

positions taken by Secretary Kobach that have called his credibility into question,” and collecting

examples).

       58.     When recently asked about his previous statements about Donald Trump winning

the popular vote and the absence of evidence to support this claim, Vice Chair Kobach replied, “I

guess it all depends on what you define as evidence.” “Voting Commissioner Kris Kobach

Defends U.S. Request For Voter Information,” All Things Considered, Nat’l Pub. Radio (June



                                                18
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 19 of 59



30,    2017),        http://www.npr.org/2017/06/30/535059231/voting-commissioner-kris-kobach-

defends-u-s-request-for-voter-information.

       59.        Like Secretary Kobach, Commission member Ken Blackwell has made

unfounded assertions about noncitizens voting. In response to President Trump’s claims that he

had won the popular vote but for illegal votes, Mr. Blackwell penned a commentary asserting

that Secretary Clinton received over 800,000 illegal votes from non-citizens, and based this

claim on the work of Old Dominion University professor Jesse Richman. Ken Blackwell,

Election Integrity Can’t Wait, The Daily Caller (Feb. 7, 2017), http://dailycaller.com/

2017/02/07/electoral-integrity-cant-wait/. Professor Richman, however, disclaimed this use of

his research, expressly stating that he has not done a study of the 2016 election. See Jesse

Richman,     “I    Do    Not   Support   the   Washington   Times    Piece”    (Jan.   27,   2017),

https://fs.wp.odu.edu/jrichman/2017/01/27/i-do-not-support-the-washington-times-piece/.

Professor Richman has also expressly written, “My study DOES NOT support Trump’s claim

that millions of non-citizens voted in the 2016 election.” Jesse Richman, “Why I Would Sign the

‘Open Letter’ If It Were True” (March 10, 2017), https://fs.wp.odu.edu/jrichman/2017/03/10/

why-i-would-sign-the-open-letter-if-it-were-true/.

       60.        Like Secretary Kobach, Mr. Blackwell has unlawfully disenfranchised voters. As

Secretary of State of Ohio, Mr. Blackwell announced on September 7, 2004, less than a month

before the voter registration deadline for the 2004 general election, that voter registration forms

would be processed only if they were printed on eighty-pound unwaxed white paper stock,

specifying that complete voter registration forms from eligible voters that were printed on less

heavy-weight paper would not be processed. See Ohio Secretary of State Directive, No. 2004-

31, Section II (Sept. 7, 2004). The directive was later reversed. Regarding that same election,



                                                19
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 20 of 59



the Sixth Circuit Court of Appeals determined that another Directive from Mr. Blackwell

violated the Help America Vote Act, denying provisional ballots to individuals clearly entitled to

cast them under the law. Sandusky Cty. Democratic Party v. Blackwell, 387 F.3d 565, 574 (6th

Cir. 2004).

       61.      Commission member Gardner has a similar record.           Secretary Gardner has

recently pushed for tightening access to the polls in New Hampshire, saying that the state has

“drive-by     voting.”   See   Associated    Press,   N.H.   Pub.   Radio     (Nov.   26,   2016),

http://nhpr.org/post/republicans-looking-tighten-nh-election-laws#stream/0.

       62.      Like Secretary Kobach, Secretary Gardner has been found by a court to have

unlawfully disenfranchised voters in his State. The New Hampshire Supreme Court found that

Gardner promulgated a voter registration form that was “confusing and inaccurate,” and “could

cause an otherwise qualified voter not to register to vote in New Hampshire.” Guare v. New

Hampshire, 167 N.H. 658, 665, 117 A.3d 731, 738 (2015). The Court concluded that, “as a

matter of law, the burden it imposes upon the fundamental right to vote is unreasonable.” Id.

       63.      Commission member McCormick has a similar record of supporting policies and

practices that have disenfranchised voters. In litigation involving Vice Chair Kobach’s efforts to

require documentary proof of citizenship from individuals registering to vote with the federal

voter registration form, EAC Commissioner McCormick attempted to reject the Department of

Justice as counsel for the EAC and retain her own personal counsel, in order to file memoranda

and declarations in support of Secretary Kobach’s position in the case. See Docket, League of

Women Voters v. Newby, No. 16-cv-236-RJL (D.D.C.). The D.C. Circuit later ruled that the

documentation requirements favored by Secretary Kobach and Commissioner McCormick

created “a substantial risk that citizens will be disenfranchised in the present federal election



                                               20
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 21 of 59



cycle[,]” and will “make it substantially more difficult for groups like the League [of Women

Voters] to register otherwise qualified voters.” League of Women Voters v. Newby, 838 F.3d 1,

12-13 (D.C. Cir. 2016).

       64.      On June 21, 2017, President Trump named three additional Commission

members: Luis Borunda, David K. Dunn, and Mark Rhodes. Press Release, Office of the Press

Secretary, President Donald J. Trump Announces Intent to Nominate Personnel to Key

Administration Posts (June 21, 2017), available at https://www.whitehouse.gov/the-press-

office/2017/06/21/president-donald-j-trump-announces-intent-nominate-personnel-key. Two of

these appointees have no experience with election administration.

       65.      Mark Rhodes is the county clerk of Wood County, West Virginia, a county with

56,105 registered voters.      See W.V. Secretary of State, Voter Registration Totals,

http://www.sos.wv.gov/elections/VoterRegistration/Pages/Voter_Registration.aspx (last visited

July 6, 2017). Upon his appointment, Clerk Rhodes stated that he was not sure why he was

appointed to the Pence-Kobach Commission, and that he thought that West Virginia’s

Republican Secretary of State recommended him because Vice President Pence and Vice Chair

Kobach were looking for a Democratic county clerk, and “there’s not a whole lot of those in

West Virginia.” Kira Lerner, The White House’s Voter Fraud Commission Is Starting To Take

Shape, Think Progress (June 22, 2017), https://thinkprogress.org/fraud-commission-rhodes-

bf8cd04daec4.

       66.      David K. Dunn was previously a member of the Arkansas House of

Representatives. He did not have any experience in administering elections. Capitol Partners,

http://www.capitolpartners.co/partners/ (last visited July 6, 2017). Upon his appointment, Mr.

Dunn stated, “I don’t know why this has fallen on my shoulders . . . I’m just a very small old



                                               21
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 22 of 59



country boy from Arkansas in this bigger commission with Vice President Pence, and I’m just

going to do the best I can, to be honest.”          Arkansas’s Republican Secretary of State

recommended him to the Commission.            Sam Levine, Some of Trump’s New Election

Investigators Don’t Seem To Have Much Election Experience, Huffington Post (June 22, 2017),

available at http://www.huffingtonpost.com/entry/trump-voter-fraud-commission_us_594c1068e

4b01cdedf01e75e?3pa. On October 16, 2017, Commissioner Dunn passed away.

       67.    Luis Borunda is the Deputy Secretary of State of Maryland, a position that has no

elections-related responsibilities. On July 3, 2017, Deputy Secretary Borunda resigned from the

Pence-Kobach Commission. See Luke Broadwater, Maryland Official Resigns from Trump Voter

Fraud Panel, Balt. Sun (July 3, 2017), http://www.baltimoresun.com/news/maryland/politics/bs-

md-borunda-resigns-trump-20170703-story,amp.html.

       68.    On June 29, 2017, President Trump named Hans A. von Spakovsky as a member

of the Pence-Kobach Commission. Press Release, Office of the Press Secretary, President

Donald J. Trump Announces Key Additions to his Administration (June 29, 2017), available at

https://www.whitehouse.gov/the-press-office/2017/06/29/president-donald-j-trump-announces-

key-additions-his-administration.

       69.    Mr. von Spakovsky has a long history of making baseless claims about voter

fraud. See, e.g., Jane Mayer, The Voter-Fraud Myth, The New Yorker (Oct. 29-Nov. 5, 2012),

http://www.newyorker.com/magazine/2012/10/29/the-voter-fraud-myth; Richard L. Hasen, The

Voting Wars 62-64, 129 (Yale Univ. Press 2012). In response to President Trump’s baseless

claims that he had won the popular vote but for illegal votes, Mr. von Spakovsky wrote, “there is

a real chance that significant numbers of noncitizens and others are indeed voting illegally.”




                                               22
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 23 of 59



Hans A. von Spakovsky & John Fund, Do Illegal Votes Decide Elections?, Wall St. J. (Nov. 30,

2016), https://www.wsj.com/articles/do-illegal-votes-decide-elections-1480551000.

         70.        In the investigation report of the Office of the Inspector General of the EAC

regarding reports on voter fraud, former Chair of the EAC Paul DeGregorio stated that “too

many of [von Spakovsky’s] decisions are clouded by his partisan thinking” and reported that

“von Spakovsky thought DeGregorio should use his position (on the EAC commission) to

advance the Republican party’s agenda.” U.S. Elec. Assistance Comm’n Office of Inspector

Gen., Report of Investigation: Preparation of the Voter Fraud and Voter Intimidation Report 17

(March          2008),     https://www.eac.gov/assets/1/1/EAC%20Inspector%20General%20Report

%20on%20the%20Preparation%20of%20the%20Voter%20Fraud%20and%20Voter%

20Intimidation.pdf.

         71.        On July 10, 2017, President Trump named J. Christian Adams and Judge Alan

Lamar King as members of the Pence-Kobach Commission. Press Release, Office of the Press

Secretary, President Donald J. Trump Announces Key Additions to his Administration (July 10,

2017), available at https://www.whitehouse.gov/the-press-office/2017/07/10/president-donald-j-

trump-announces-key-additions-his-administration.

         72.        Mr. Adams, President and General Counsel of the Public Interest Legal

Foundation (“PILF”), an organization that promotes and defends laws and policies that restricts

access to the polls, has a long history of promoting restrictive voting laws and making baseless

claims about voter fraud. See, e.g., Pema Levy, Lawyer Behind Nationwide Voter Purge Effort

Named          to    Trump    Election    Commission,    Mother    Jones    (July   11,   2017),

http://www.motherjones.com/politics/2017/07/lawyer-behind-nationwide-voter-purge-effort-

named-to-trump-election-commission/.         Mr. Adams, too, has publicly affirmed President



                                                  23
          Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 24 of 59



Trump’s claims that he won the popular vote but for illegal votes. J. Christian Adams, Trump

Destroys Elites’ Assumptions: Autopsy of the 2012 ‘GOP Autopsy’, PJ Media (Nov. 9, 2016),

https://pjmedia.com/jchristianadams/2016/11/09/trump-destroys-elite-assumptions-autopsy-of-

the-gop-autopsy/3/. On December 7, 2017, Mr. Adams stated, “we hear a lot about foreign

influence. Well, I can tell you the greatest foreign influence in our elections are aliens who are

getting on the rolls and aliens who are voting,” and reportedly urged states to enact citizenship

verification requirements when people register to vote, Sam Levine, 3 Members of Trump Panel

Warn of Voter Fraud to Influential Conservative Group, Huffington Post (Dec. 7, 2017),

https://www.huffingtonpost.com/entry/trump-voter-fraud-commission-alec_us_

5a29bfbde4b069ec48abff48 [hereinafter Levine, 3 Members], mirroring Vice Chair Kobach’s

proposed amendment to the NVRA.

          73.   Commissioners von Spakovsky, Adams, and Blackwell are all members of the

policy board of the American Civil Rights Union (“ACRU”), a group that has advocated for

aggressive purges of registered voters from the rolls. Commissioners von Spakovsky and Adams

are both members of the Board of Directors of PILF. In a recent decision, the United States

Court of Appeals for the Third Circuit rejected an attempt by ACRU, represented by PILF, to

force the City of Philadelphia to engage in more aggressive purges of its voter rolls, stating that

ACRU’s arguments were “exactly the kind of statutory contortion that led the District Court to

respond to the ACRU’s arguments by threatening to impose sanctions for blatant

misrepresentation of the [NVRA],” Am. Civil Rights Union v. Phila. City Comm’rs, 872 F.3d

175, 184 (3d Cir. 2017), and that “[i]t is the ACRU’s interpretation of the NVRA, not the

Commissioners’, that most threatens the goals of the statute and the integrity of the vote,” id.

at 187.



                                                24
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 25 of 59



        74.       Judge King is a Judge of Probate for the probate court of Jefferson County,

Alabama, and in that role, chief election official for the county. Like Commission members

Rhodes and Dunn, Judge King was recommended for appointment by his state’s Republican

Secretary of State. See Leada Gore, Trump Appoints Alabama Probate Judge, a Democrat, to

Controversial Election Commission, AL.com (July 11, 2017), http://www.al.com/news/index.ssf/

2017/07/alabama_probate_judge_named_to.html.

    C. Offices and Logistics of the Pence-Kobach Commission

        75.       The office location and address of the Pence-Kobach Commission has not been

made public.

        76.       The Pence-Kobach Commission’s DFO Andrew Kossack is an Associate Counsel

in the Office of the Vice President, which is an office within the Executive Office of the

President. The offices of the Office of the Vice President are primarily located within the

Eisenhower Executive Office Building (“EEOB”).

        77.       The EEOB is not generally open to members of the public. In order to enter the

EEOB, a visitor must have a set meeting with a particular person in the building, who must enter

the full name, Social Security Number, date of birth, citizenship status, country of birth, gender,

and city and state of residence of each visitor into the White House Worker and Visitor Entry

System (“WAVES”), maintained by the United States Secret Service, for review and approval

prior to entry.

        78.       The Pence-Kobach Commission’s Committee Management Officer is an

employee of the GSA.

        79.       The names of the staff of the Pence-Kobach Commission have not been made

public. The Commission was reported to be staffed by employees of the Executive Office of the



                                                25
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 26 of 59



President. See Dave Boyer, Voter Fraud and Suppression Commission to Meet in July, Wash.

Times (June 27, 2017), http://www.washingtontimes.com/news/2017/jun/27/voter-fraud-and-

suppression-commission-to-meet-in-/ [hereinafter Boyer, Voter Fraud and Suppression]. The

Charter of the Pence-Kobach Commission indicates that it is staffed by the GSA. Charter ¶ 6.

        80.      On July 1, 2017, a reporter for ProPublica requested for, the fifth time, a full list

of staff working for the Commission. On information and belief, she has still not received a

response.

        81.      The Charter of the Pence-Kobach Commission indicated that there would be three

full-time equivalent employees working for the Commission throughout its duration. Charter

¶ 7. Vice Chair Kobach stated that the Commission’s staff would be “substantial,” indicating

that the Commission had full-time staff and people “detailed to work for the commission from

other agencies.” Sam Levine, Watchdog Groups Sure for Documents on Trump Voter Fraud

Probe, Huffington Post (Aug. 22, 2017), http://www.huffingtonpost.com/entry/trump-voter-

fraudprobe_us_599c4ae9e4b04c532f448f59.

        82.      On October 13, 2017, a researcher for the Pence-Kobach Commission was

arrested on child pornography charges after such materials were found on his cell phone. John

Wagner, Trump Voter Fraud Commission Researcher Arrested on Child Pornography Charges,

Wash.         Post.     (Oct.     14,      2017),        https://www.washingtonpost.com/news/post-

politics/wp/2017/10/14/trump-voter-fraud-commission-researcher-arrested-on-child-

pornography-charges/?utm_term=.6d88768a8bcb. Even the existence of this staffer was not

known to the public or to certain Commissioners until reports of the arrest became public. See

Letter from Matthew Dunlap, Commissioner and Maine Secretary of State, to Andrew Kossack,




                                                    26
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 27 of 59



Designated Federal Officer, at 2 (Oct. 17, 2017), available at https://www.documentcloud.org/

documents/4111815-PACEI-10-17-17.html [hereinafter Dunlap Letter].

       83.     Pence-Kobach Commission DFO Kossack has stated under penalty of perjury that

the Commission’s documents would be made available for public inspection within the GSA.

Kossack Decl. ¶ 10, ECF No. 16-1. The location of the office has not been made public.

       84.     One of the Commission documents related to July 19, 2017 meeting, was labeled

as “copyrighted material,” that would be “available for inspection by contacting

gsa.cmo1@gsa.gov.”        See Presidential Advisory Comm’n on Election Integrity Resources,

https://www.whitehouse.gov/presidential-advisory-commission-election-integrity-resources (last

visited Dec. 12, 2017).

       85.     The address gsa.cmo1@gsa.gov is the e-mail address for Ms. Wills, an employee

of the GSA and the Pence-Kobach Commission’s CMO.

III.   Activities of the Pence-Kobach Commission

       86.     On June 28, 2017, Vice President Pence, as Chair of the Pence-Kobach

Commission, held a telephonic meeting with the members of the Commission.              See Press

Release, Office of the Vice President, Readout of the Vice President’s Call with the Presidential

Advisory     Commission       on   Election   Integrity   (June   28,    2017),   available    at

https://www.whitehouse.gov/the-press-office/2017/06/28/readout-vice-presidents-call-

presidential-advisory-commission-election [hereinafter Pence Release].

       87.     The meeting lasted for ninety minutes. See John DiStaso, NH Primary Source:

Gardner Says Trump Election Integrity Commission Call “Couldn’t Have Been Better”, WMUR

9 ABC (June 29, 2017), http://www.wmur.com/article/gardner-says-trump-election-integrity-

commission-call-couldnt-have-been-better/10237642.



                                               27
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 28 of 59



       88.     This meeting of the Pence-Kobach Commission was not noticed in the Federal

Register nor was it held open to the public. Upon information and belief, the agenda for the June

28 meeting was not made available for public inspection and copying, nor were any of the

documents provided to the members in relation to the meeting. The meeting was therefore

unlawful.

       89.     The June 28 meeting was not merely an administrative or preparatory meeting

conducted solely to prepare for a future advisory committee meeting, to draft a position paper, or

to discuss merely administrative matters.

       90.     During this unlawful telephonic meeting, Vice Chair Kobach told the members of

the Commission that he was sending a letter “to the 50 states and District of Columbia on behalf

of the Commission requesting publicly-available data from state voter rolls and feedback on how

to improve election integrity.” Pence Release.

       91.     During this unlawful meeting, the members of the Pence-Kobach Commission

deliberated substantive matters, including the unprecedented decision to aggregate the personal

data of every registered voter in the United States for the purpose of identifying potential double

registrants or other ineligible registrants.      See Celeste Katz, Trump Election Integrity

Commission Member: ‘We Should Have Predicted’ the Backlash, Mic (July 5, 2017),

https://mic.com/articles/181510/trump-election-integrity-commission-member-we-should-have-

predicted-the-backlash#.FJyGiAIZO.

       92.     The minutes and transcript of the June 28 meeting have not been made public.

       93.     On June 13, 2017, Vice Chair Kobach, along with DFO Kossack and other

members of the Office of the Vice President, communicated with now-Commissioners von

Spakovsky and Adams regarding the June 28, 2017 telephonic meeting, weeks before either



                                                 28
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 29 of 59



now-Commissioners von Spakovsky and Adams were appointed to the Pence-Kobach

Commission. Vaughn Index, Entry 360, at 21, Lawyers’ Comm. for Civil Rights Under Law v.

Presidential Advisory Comm’n on Election Integrity, No. 17-cv-1354 (D.D.C. Sept. 29, 2017),

ECF No. 33-3.

       94.      Subsequent to the unlawful meeting, Commission member Secretary Dunlap

reported that during the meeting, in regard to sending such letters to the states, he had advised

the Commission, “to be careful how you go at this because election officials are very sensitive

guardians of this information, so you want to make sure you’re asking for it, not demanding it,

and that it really should only cover the information that is publicly available in your state.” Sam

Levine, Trump Voter Fraud Commission Was Cautioned About Seeking Sensitive Voter

Information, Huffington Post (July 5, 2017), http://www.huffingtonpost.com/entry/trump-voter-

fraud-commission_us_595d511fe4b02e9bdb0a073d [hereinafter Levine, Commission Was

Cautioned].

       95.      At the unlawful meeting, the Commission reportedly deliberated and concluded

that they did not need to review the language of the letters to the states because only Vice Chair

Kobach would sign them. Levine, Commission Was Cautioned; see also Tal Kopan, Pence-

Kobach Voting Commission Alarms States with Info Request, CNN (July 1, 2017),

http://www.cnn.com/2017/06/30/politics/kris-kobach-voter-commission-rolls/index.html (citing

statements from Commission member, Secretary Dunlap of Maine, and spokesperson for Vice

President Pence, Marc Lotter).

       96.      Subsequent to the Commission’s determination that the Commissioners did not

need to review Vice Chair Kobach’s letter, on June 28, 2017, Vice Chair Kobach sent a letter to

the Secretary of State of each of the fifty states and to the District of Columbia requesting



                                                29
           Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 30 of 59



submission via e-mail or FTP site by July 14, 2017, of voter roll data, including “the full first and

last names of all registrants, middle names or initials if available, addresses, dates of birth,

political party (if recorded in your state), last four digits of social security number if available,

voter history (elections voted in) from 2006 onward, active/inactive status, cancelled status,

information regarding any felony convictions, information regarding voter registration in another

state, information regarding military status, and overseas citizen information.” See, e.g., Letter

from Kris Kobach to Elaine Marshall, North Carolina Secretary of State (June 28, 2017),

https://assets.documentcloud.org/documents/3881856/Correspondence-PEIC-Letter-to-North-

Carolina.pdf; see also Pence Release; Brandon Carter, Trump Election Panel Asks All 50 States

for      Voter   Roll   Data,   The   Hill   (June    29,   2017),    http://thehill.com/homenews/

administration/340117-trump-election-integrity-commission-requests-years-of-voter-data-from.

          97.    Vice Chair Kobach communicated with now-Commissioners von Spakovsky and

Adams regarding the letters to the states regarding data collection in multiple e-mails on June 21,

22, 23, 26, and 27, 2017, prior to the appointment of either von Spakovsky or Adams to the

Commission and prior to discussing the letter with the actual members of the Commission during

the June 28, 2017 telephonic meeting. Vaughn Index, Entry 367, at 21; id. Entry 373, at 22.

Some of these communications occurred before the Pence-Kobach Commission charter was

filed.

          98.    Commissioner Dunlap further stated that during the unlawful meeting, Vice Chair

Kobach did not indicate that the letter to the states had already been drafted nor did Vice Chair

Kobach indicate that now-Commissioners von Spakovsky and Adams had been involved in the

plan to request data.      Jessica Huseman, Who’s Really in Charge of the Voting Fraud




                                                 30
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 31 of 59



Commission?, ProPublica (Oct. 5, 2017), https://www.propublica.org/article/whos-really-in-

charge-of-the-voting-fraud-commission.

         99.    Vice Chair Kobach has further represented that he expects that “every

investigation” the Commission conducts will require voter roll data. He also contemplated

witnesses testifying about particular individuals’ voting history and the need “to confirm” such

voter history through the voter roll data. Kris W. Kobach, Why States Need to Assist the

Presidential    Commission       on    Election        Integrity,   Breitbart   (July   3,   2017),

http://www.breitbart.com/biggovernment/2017/07/03/kobach-why-states-need-to-assist-the-

presidential-commissionon-election-integrity/. On information and belief, Vice Chair Kobach

did not discuss such potential activities of the Pence-Kobach Commission with all of the other

Commissioners, nor suggest to them that the Commission would undertake investigations of

particular individuals when describing the request for voter roll data.

         100.   Such investigations of particular individuals are not “solely advisory,” as

permitted under FACA and provided for in the Executive Order permitting the establishment of

the Pence-Kobach Commission. Exec. Order 13,799, § 3; 5 U.S.C. app. 2 § 9(b).

         101.   Underscoring the need for public oversight, Vice Chair Kobach’s request was of

such public concern that officials in 48 states had partially or fully refused to comply with the

request, see Ari Berman, Suppression Plans are Backfiring Badly, The Nation (July 5, 2017),

https://www.thenation.com/article/the-trump-administrations-voter-suppression-plans-are-

backfiring-badly/, and individuals have sought to cancel their registration for fear of how the

Commission will handle personal data, see Corey Hutchins, In Colorado, ‘Confusion,’

‘Hysteria,’ and Voters Unregistering at Some Local Election Offices, Colo. Indep. (July 7,

2017),           http://www.coloradoindependent.com/166227/colorado-voting-trump-unregister-



                                                  31
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 32 of 59



confidential; Jesse Paul, No Evidence 5,000 Colorado Voters Who Unregistered Were Ineligible

to Vote, Secretary of State Says, Denver Post (July 27, 2017), http://www.denverpost.com/

2017/07/27/colorado-voters-deregistration-trump-administration/.

       102.    Cybersecurity experts have described the Commission’s plans to aggregate this

data as a “gold mine” for hackers. Eric Geller & Corey Bennett, Trump Voter-Fraud Panel’s

Data Request a Gold Mine for Hackers, Experts Warn, Politico (July 1, 2017),

http://www.politico.com/story/2017/07/01/trump-voter-fraud-panel-hackers-240168.            Michael

Chertoff, the former Secretary of Homeland Security under President George W. Bush, has

written an op-ed titled “Trump’s Voter Data Request Poses an Unnoticed Danger,” noting that

“whatever the political, legal and constitutional issues raised by this data request, one issue has

barely been part of the public discussion: national security.” Michael Chertoff, Trump’s Voter

Data    Request    Poses     an    Unnoticed     Danger,     Wash.    Post    (July    5,    2017),

https://www.washingtonpost.com/opinions/trumps-voter-data-request-poses-an-unnoticed-

danger--to-national-security/2017/07/05/470efce0-60c9-11e7-8adc-fea80e32bf47_story.html?

utm_term=.47ed19183852. In an amicus brief filed on behalf of the plaintiffs in Common Cause

v. Presidential Advisory Commission on Election Integrity, former national security and

technology officials, including James R Clapper, Jr., the former Director of National

Intelligence, warned that “[a] large database aggregating [personal identifying information] of

millions of American voters in one place, as the Commission has compiled and continues to

compile, would constitute a treasure trove for malicious actors,” and that “the Commission’s

maintenance of this database could enable malicious actors to inflict significant harms on the

nation’s electoral process as well as on individual voters.” Br. of Former Nat’l Security &

Technology Officials as Amici Curiae Supporting Pls.’ Mem. in Opp. to Defs.’ Mot. to Dismiss



                                                32
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 33 of 59



at 3-4, Common Cause v. Presidential Advisory Comm’n on Election Integrity, No. 17-cv-1398

(RCL) (D.D.C. Dec. 5, 2017), ECF No. 38-1. Upon information and belief, security, privacy,

and data protection issues were not meaningfully considered by the Commission in making the

unprecedented decision to request personal voter data from the states.

       103.    Upon information and belief, none of the members of the Pence-Kobach

Commission have expertise in cybersecurity, privacy, and/or data protection.

       104.    The Pence-Kobach Commission initially intended to use the Department of

Defense’s Safe Access File Exchange (“SAFE”) system to collect and store voter data from the

states. Kobach Decl. ¶ 5, Elec. Privacy Info. Ctr. v. Presidential Advisory Comm’n on Election

Integrity, No. 17-cv-1320 (CKK) (D.D.C. July 5, 2017), ECF No. 8-1 (“First Kobach Decl.”).

Just five days later, seemingly in response to the Department of Defense being added as a

defendant in that matter, Vice Chair Kobach submitted a new declaration stating that the Pence-

Kobach Commission no longer intended to use the SAFE system and instead would

“repurpos[e]” an existing system within the White House to collect and store the voter data.

Third Kobach Decl. ¶ 1, Elec. Privacy Info. Ctr. v. Presidential Advisory Comm’n on Election

Integrity, No. 17-cv-1320 (CKK) (D.D.C. July 10, 2017), ECF No. 24-1. The only explanation

provided to the court was that the change was made “[i]n order not to impact the ability of other

customers to use the [SAFE] site.”

       105.    On July 5, 2017, the July 19, 2017 in-person meeting of the Pence-Kobach

Commission was noticed in the Federal Register, 14 days prior to the scheduled meeting. The

Presidential Commission on Election Integrity (PCEI); Upcoming Public Advisory Meeting, 82

Fed. Reg. 31063 (July 5, 2017) [hereinafter Meeting Notice].




                                               33
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 34 of 59



       106.    The notice stated that the meeting would be held in the EEOB and would be

available to the public only through an internet livestream. Meeting Notice, 82 Fed. Reg. 31063.

       107.    Notwithstanding the fact that the Commission had not yet had a lawful public

meeting, its work had already begun. On July 5, 2017, Vice Chair Kobach publicly declared

under penalty of perjury that “information [had been] provided to [him] in [his] official capacity

as Vice Chair of the Commission.” First Kobach Decl. ¶ 2. Vice Chair Kobach did not identify

what information contained in his declaration was provided to him in his capacity as Vice Chair,

nor did he identify who provided the information, or in what form.

       108.    On July 6, 2017, Vice Chair Kobach communicated with Commissioner von

Spakovsky and now-Commissioner Adams regarding the availability of data from the various

states prior to now-Commissioner Adams’ appointment to the Commission and without

including any other Commissioners, or on information and belief, without advising the other

Commissioners regarding this communication or sharing its substance.             Vaughn Index,

Entry 418, at 24.

       109.    A spokesperson for Vice President Pence, Marc Lotter, stated, on July 5, 2017,

that the Pence-Kobach Commission had already formulated plans for the voter data that it is

collecting, explaining that the Commission intended to check the information contained in state

voter rolls against data housed in various federal databases to identify supposedly ineligible

registrants. That determination was made before any lawful meetings of the Pence-Kobach

Commission had been held. Jessica Huseman, Election Experts See Flaws in Trump Voter

Commission’s Plan to Smoke Out Fraud, ProPublica (July 6, 2017), https://www.propublica.org/

article/election-experts-see-flaws-trump-voter-commissions-plan-to-smoke-out-fraud

[hereinafter Huseman, Election Experts]. Mr. Lotter would not specify which federal databases



                                               34
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 35 of 59



the Commission intended to use, but public reports from June 27, 2017 indicated that the

Commission intended to compare state voter roll data against the federal database of non-

citizens, which would lead to numerous false positive matches. Id. (citing Boyer, Voter Fraud

and Suppression).

       110.    Commission DFO Kossack has communicated with the Department of Justice and

the Social Security Administration regarding data collection. See, e.g., Vaughn Index, Entries

747, 748, at 39.

       111.    Election administration experts have stated that running such a comparison is

certain to lead to numerous false positives due to minor inaccuracies on the voter rolls,

inconsistencies in data collection and formatting, and the reality of common names and

birthdays.    See Huseman, Election Experts; Maggie Koerth-Baker, Trump’s Voter Fraud

Commission is Facing a Tough Data Challenge, FiveThirtyEight, July 7, 2017,

https://fivethirtyeight.com/features/trumps-voter-fraud-commission-is-facing-a-tough-data-

challenge/.

       112.    Indeed, Secretary Kobach currently operates an “Interstate Crosscheck” system,

which he touted at the July 19 meeting of the Pence-Kobach Commission, which purports to

compare voter registration files in multiple states to search for double voters. But a team of

researchers from Stanford, Harvard, the University of Pennsylvania, and Microsoft concluded

that, if Secretary Kobach’s Crosscheck system were used for voter list maintenance in one state

(Iowa), 99.5% of the purported matches would be false positives, such that “200 legitimate

voters may be impeded from voting for every double vote stopped.” See Sharad Goel et al., One

Person, One Vote: Estimating the Prevalence of Double Voting in U.S. Presidential Elections,

(Oct. 24, 2017), https://5harad.com/papers/1p1v.pdf. Upon information and belief, these issues



                                              35
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 36 of 59



were not considered by the Commission.          Without the requisite transparency about the

Commission’s activities in this area, among others, there is no way for the public have

meaningful oversight and assess the Commission’s recommendations.

        113.    On December 7, 2017, Commissioner von Spakovsky also touted the Kobach

Crosscheck system, and urged states to compare their voter rolls against federal databases to

identify non-citizens. Levine, 3 Members.

        114.    Underscoring the information security concerns that accompany aggregating voter

information at the national level, documents released through state freedom of information law

requests revealed multiple security weaknesses in Vice Chair Kobach’s Crosscheck system.

Crosscheck’s files are hosted on an insecure server, “usernames and passwords were regularly

shared by email, making them vulnerable to snooping,” and the passwords were too simplistic

and not changed regularly. See Jessica Huseman & Derek Willis, The Voter Fraud Commission

Wants Your—but Experts Say They Can’t Keep It Safe,” ProPublica (Oct. 23, 2017),

https://www.propublica.org/article/crosscheck-the-voter-fraud-commission-wants-your-data-

keep-it-safe; see also Interstate Crosscheck FOIA Documents, Indivisible Chicago,

https://www.indivisiblechicago.com/crosscheck-documents (last visited Dec. 11, 2017) (housing

underlying documents obtained via state freedom of information law).

        115.    On July 5, 2017, Plaintiffs requested that the Pence-Kobach Commission produce

or make available for public inspection and copying all materials “which were made available to

or prepared for or by” the Commission. Plaintiffs requested a reply to their letter by July 14,

2017. As of the date of this Amended Complaint, Plaintiffs still have not received a response to

their letter.




                                               36
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 37 of 59



        116.    On July 13, 2017, the Pence-Kobach Commission hastily posted a Commission

webpage on the White House “Blog.” The White House, Presidential Advisory Commission on

Election     Integrity,   The   White    House      Blog    (July   13,    2017    10:15     AM)

https://www.whitehouse.gov/blog/2017/07/13/presidential-advisory-commission-election-

integrity.

        117.    On July 19, 2017, the Pence-Kobach Commission held an in-person meeting. The

public was barred from attending this meeting in-person and was only allowed to view the

meeting via livestream, which was subject to technical difficulties throughout, thus effectively

closing portions of the meeting. Vice Chair Kobach posted a message on his Facebook page

acknowledging the disruption of the livestream. See Mem. in Supp. of Pl.’s Mot. for a Status

Conf. et al. at 9-10, Lawyers’ Committee for Civil Rights Under Law v. Presidential Advisory

Comm’n on Election Integrity, No. 17-cv-1354-CKK (D.D.C. July 21, 2017), ECF No. 21-1.

        118.    During the July 19, 2017 meeting, the Commission adopted Bylaws that, among

other things, provided “The Designated Federal Officer (“DFO”) will be a full-time officer or

employee of the Federal Government appointed by the GSA Administrator, pursuant to 41 CFR

§ 102-3.105 and in consultation with the Chair of the Commission.” Bylaws § III(D), available

at https://www.whitehouse.gov/sites/whitehouse.gov/files/docs/pacei-bylaws_final.PDF.

        119.    On July 26, 2017, Vice Chair Kobach again sent letters to each of the states and

the District of Columbia, this time seeking “publicly available voter registration records.” See,

e.g., Letter from Kris Kobach to Hon. John Merrill, Ala. Sec’y of State (July 26, 2017), available

at     https://www.whitehouse.gov/sites/whitehouse.gov/files/docs/letter-vice-chair-kris-kobach-

07262017.pdf. In this letter, Vice Chair Kobach stated that “[t]he only information that will be




                                               37
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 38 of 59



made public are statistical conclusions drawn from the data, other general observations that may

be drawn from the data, and any correspondence that you may send to the Commission.” Id.

       120.   This second request for voter data was not discussed at the July 19, 2017 meeting

of the Pence-Kobach Commission nor in discussions among the Commissioners thereafter.

Regarding this request, Commissioner Dunlap stated, “If we’re going to act as a commission, we

should really be considering the entire request for data as a body, and determining what it is

we’re researching and how to look for it.” Press Release, Me. Sec’y of State, Secretary Dunlap

Reviewing Elections Commission’s Second Request for Voter Data (July 27, 2017),

http://www.maine.gov/sos/news/2017/electioncommission2.html.

       121.   Commissioner Lawson also acknowledged that she does not know how the

Commission plans to use the data requested from the states. Tony Cook & Kaitlin L. Lange,

Indiana’s Secretary of State Could be Check on Trump Voter Fraud Commission, IndyStar (July

9,   2017),    http://www.indystar.com/story/news/politics/2017/07/09/indianas-connie-lawson-

could-check-trump-voterfraudcommission/442250001/.

       122.   The full scope of the Pence-Kobach Commission’s documents “made available

to” or “provided for or by” the Commission were not publicly posted prior to the July 19

meeting.   And many other documents “made available to” or “provided for or by” the

Commission have still not been made available for public inspection.

       123.   Following the July 19, 2017 meeting, Commissioners Rhodes, Dunn, and Dunlap

reported that they had not been receiving any information from the Commission other than the

date of the September 12, 2017 meeting.         Kira Lerner, Democrats on Trump’s Voting

Commission    Iced   Out    Since   First   Meeting,   Think    Progress   (Aug.   22,   2017),

https://thinkprogress.org/democrats-voting-commission-ceec3ea98a33/.



                                              38
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 39 of 59



       124.    On August 25, 2017, the GSA published the notice announcing a September 12,

2017 meeting of the Pence-Kobach Commission. 82 Fed. Reg. 40,581, 40,582 (Aug. 25, 2017).

The meeting notice stated that written comments “pertaining to a particular meeting should be

submitted at least five (5) days prior to a specific meeting.” Id.

       125.    The Commission did not ensure that all documents “made available to” or

“provided for or by” the Commission would be posted sufficiently in advance of this deadline for

comments. Oral comments from the public were not permitted at the September 12, 2017

meeting.

       126.    Defendants continue to disclaim that the Pence-Kobach Commission is subject to

FACA. Mem. in Opp. to Pl.’s Emergency Mot. for a TRO at 12, Elec. Privacy Info. Ctr. v.

Presidential Advisory Comm’n on Election Integrity, No. 17-cv-1320 (CKK) (D.D.C. July 5,

2017), ECF No. 8; see also Kossack Decl. ¶ 2, ECF No. 16-1 (“The Commission is voluntarily

complying with the provisions of [FACA].”) (emphasis added).

       127.    On September 7, 2017, Vice Chair Kobach published a column on the alt-right

“news” site, Breitbart, claiming that “facts” demonstrated that illegal votes determined the 2016

New Hampshire Senate election and “perhaps” the state’s four electoral votes. Kris W. Kobach,

Exclusive – Kobach: It Appears That Out-of-State Voters Changed the Outcome of the New

Hampshire U.S. Senate Race, Breitbart (Sept. 7, 2017), http://www.breitbart.com/big-

government/2017/09/07/exclusive-kobach-out-of-state-voters-changed-outcome-new-hampshire-

senate-race/. The article misstated the law of New Hampshire to conclude that the votes were

cast illegally. The article appears on the Pence-Kobach Commission’s website. Presidential

Advisory Comm’n on Election Integrity Resources, https://www.whitehouse.gov/sites/




                                                 39
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 40 of 59



whitehouse.gov/files/docs/Kobach-It-Appears-Out-of-State-Voters-Changed-Outcome.pdf       (last

visited Dec. 11, 2017).

         128.   On September 12, 2017, during the meeting of the Pence-Kobach Commission,

Commissioner Gardner, the Secretary of State of New Hampshire, confirmed that the votes

referenced by Vice Chair Kobach were valid. During this meeting, Vice Chair Kobach still

touted this information as proof of illegal votes, though later admitted that his claims in the

Breitbart article “may have been imprecise.” Ben Kamisar, Kobach Defends Controversial

Breitbart Column on NH Voter Fraud, The Hill (Sept. 12, 2017), http://thehill.com/homenews/

administration/350270-kobach-defends-controversial-breitbart-column-on-nh-voter-fraud.

         129.   On September 14, 2017, a member of the public e-mailed Vice Chair Kobach, and

the ACRU Policy Board Commissioners, von Spakovsky, Blackwell, and Adams, regarding Vice

Chair Kobach’s unfounded claim of illegal votes in New Hampshire. On information and belief,

this information was not shared with the other Commissioners. Vaughn Index, Entry 496, at 28.

         130.   At the September 12, 2017 meeting of the Pence-Kobach Commission,

Commissioner von Spakovsky served as both a member of the Commission and a panelist

presenting to the Commission. Agenda, Second [sic] Meeting of the Presidential Advisory

Commission on Election Integrity, Sept. 12, 2017, available at https://www.whitehouse.gov/

sites/whitehouse.gov/files/docs/pacei-updated-meeting-agenda-09122017.pdf.

         131.   At the same time, other Commissioners had no input regarding the topics the

meeting would address or who would be invited to present. See Complaint ¶ 51, Dunlap v.

Presidential Advisory Comm’n on Election Integrity, 17-cv-2361 (D.D.C. Nov. 9, 2017), ECF

No. 1.




                                              40
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 41 of 59



       132.    Commissioner King was not present at the September 12, 2017 meeting because

of a scheduling conflict. He had told the Commission that the date did not work for his schedule

prior to the date of the meeting being set. Deborah Barfield Berry, Trump’s Voter Fraud

Commission     Appears    to    Have    Gone     Dark,    USA      Today    (Nov.    3,      2017),

https://www.usatoday.com/story/news/politics/2017/11/03/trump-voter-fraud-election-

commission-appears-have-gone-dark/827628001/.

       133.    The minutes and transcript of the September 12, 2017 meeting have not been

made public.

       134.    Also on September 12, 2017, documents released by the Department of Justice in

response to a FOIA request showed that on February 22, 2017, someone from the Institute for

Constitutional Government at The Heritage Foundation, where Commissioner von Spakovsky is

a senior fellow, wrote to the DOJ regarding the yet unestablished Commission, saying that an

individual whose name was redacted

       got a very disturbing phone call about the voter fraud commission that Vice
       President Pence is heading. We are told that the members of this commission are
       to be named on Tuesday. We’re also hearing that they are going to make this
       bipartisan and include Democrats. There isn’t a single Democratic official that
       will do anything other than obstruct any investigation of voter fraud and issue
       constant public announcements criticizing the commission and what it is doing,
       making claims that it is engaged in voter suppression. That decision alone shows
       how little the WHouse understands about this issue.

       There are only a handful of real experts on the conservative side on this issue and
       not a single one of them . . . have been called other than Kris Kobach, Secretary
       of State of Kansas. And we are told that some consider him too “controversial” to
       be on the commission If they are picking mainstream Republican officials and/or
       academics to man this commission it will be an abject failure because there aren’t
       any that know anything about this or who have paid any attention to this issue
       over the years.

       [Redacted] are concerned that this commission is being organized in a way that
       will guarantee failure. We are astonished that no one in the WH has even bothered
       to consult with [redacted] despite the fact that the three of us have written more


                                               41
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 42 of 59



       on the voter fraud issue than anyone in the country on our side of the political
       aisle. I think you know from the white paper we sent you that based on our
       experience we have thought long and hard about what needs to be done.

Letter: Response to FOIA Request on Voter Fraud, Campaign Legal Center (Sept. 12, 2017),

http://www.campaignlegalcenter.org/document/letter-response-foia-request-voter-fraud.

       135.     Commissioner von Spakovsky denied sending this e-mail.        ProPublica, Von

Spakovsky, https://soundcloud.com/propublica/von-spakovsky (last visited Dec. 11, 2017).

       136.     Shortly thereafter, a spokesperson for the Heritage Foundation confirmed that

Commissioner von Spakovsky had indeed sent the e-mail. Dell Cameron, Jeff Sessions Was

Lobbied to Exclude Democrats from Trump’s Election Fraud Panel [Updated], Gizmodo (Sept.

12,    2017),     https://gizmodo.com/jeff-sessions-was-lobbied-to-exclude-democrats-from-tru-

1804006784.

       137.     On information and belief, the “white paper” referenced in the e-mail and the

related communications have not been made available to the public as part of the Pence-Kobach

Commission’s documents.

       138.     Following the September 12, 2017 meeting, multiple Commissioners have

indicated that they have been kept in the dark about the activities of the Pence-Kobach

Commission.

       139.     Commissioner King has reportedly stated that the Commission should disclose its

activities and future plans or else disband. Based on his experience with the Commission thus

far, he said, “It wouldn’t surprise me if this whole commission was set up and they had an end

result in mind when this commission was first originated.” Sam Levine, Trump Voter Fraud

Commissioner Says Panel Should be More Transparent or Disband, Huffington Post (Oct. 24,




                                               42
         Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 43 of 59



2017),             https://www.huffingtonpost.com/entry/trump-voter-fraud-probe-alan-king_us_

59ef8424e4b0b7e632655fb5.

         140.   Commissioner Dunlap also affirmed that he had no communication with the

Commission since the September 12, 2017 meeting. Id.

         141.   Commissioner Dunlap described the Pence-Kobach Commission as having a

“clear” imbalance of power, saying, “Von Spakovsky has a profound influence on this

commission. . . . I never expected to be at the head of the table, but I’m not even sure I’m sitting

at the table[,]” and questioned whether the work of the Commission was being led by Vice

President Pence or by Commissioner von Spakovsky “working in the shadows.”                  Jessica

Huseman, Who’s Really in Charge of the Voting Fraud Commission, Pro Publica (Oct. 5, 2017),

https://www.propublica.org/article/whos-really-in-charge-of-the-voting-fraud-commission.

         142.   On October 17, 2017, Commissioner Dunlap wrote a letter to DFO Kossack

stating that it was “clear that there is information about this commission being created and shared

among a number of parties, though apparently not universally,” and requesting that all of the

Commission’s materials be shared with him in his role as a Commissioner. Dunlap Letter at 1.

He wrote that he had “received utterly no information or updates from Commission staff or

leadership about ongoing active research, inquiries for research requests, documents for

consideration during future meetings, or indeed any information about whether or not the Chair

has plans for convening another meeting. Id.

         143.   In response, DFO Kossack stated that he was “consulting with counsel regarding

a response to [Dunlap’s] request to ensure any response accords with all applicable law.”

Dunlap Decl. ¶ 13; Ex. 4, Dunlap v. Presidential Advisory Comm’n on Election Integrity, 17-cv-

2361 (D.D.C. Nov. 16, 2017), ECF Nos. 7-1; 7-5.



                                                43
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 44 of 59



       144.    Vice Chair Kobach responded to Commissioner Dunlap’s letter in the press

saying, “I’m not aware of any information or discussions or exchange of materials from

commission members that would exclude” Commissioner Dunlap. Ellis Kim, What’s Become of

Trump’s Voter Fraud Commission? Even Some of Its Members Aren’t Sure, PBS News Hour

(Oct. 24, 2017), https://www.pbs.org/newshour/politics/whats-become-of-trumps-voter-fraud-

commission-even-some-of-its-members-arent-sure.

       145.    However, the index of documents filed in Lawyers’ Committee for Civil Rights

Under Law v. Presidential Advisory Commission on Election Integrity shows multiple e-mails

between Vice Chair Kobach and Commissioners von Spakovsky and Adams, even before either

man had been appointed to the Commission, that were never shared with Commissioner Dunlap

or others. See, e.g., Vaughn Index, Entries 357, 360, 361, 363, 367, 373, 379, 418, 496, at 21-28.

       146.    On October 19, 2017, the Minnesota Voters Alliance announced that it was

invited to speak at a December 2017 meeting of the Pence-Kobach Commission. E-mail from

Secretary and Commissioner Dunlap, to DFO Andrew Kossack, at 2 (Oct. 25, 2017), available at

https://www.documentcloud.org/documents/4177963-Dunlap-Email-2.html           (attaching   e-mail

from Minnesota Voters Alliance) [hereinafter Dunlap E-mail].

       147.    At least some Commissioners were unaware that there was a meeting planned for

December and did not know who invited the Minnesota Voters Alliance or what the organization

was expected to testify regarding. Dunlap E-mail at 1.

       148.    Only after several weeks and a desire to extend a court briefing deadline, did

lawyers for the Pence-Kobach Commission assert that it was “unlikely” that there would be a

meeting in December. Josh Gerstein, Judge: Trump Voter Fraud Commission on Ice Till Next

Year, Politico (Nov. 20, 2017), https://www.politico.com/story/2017/11/20/trump-voter-fraud-



                                               44
          Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 45 of 59



commission-judge-252132. On December 1, 2017, DFO Kossack affirmed that “there will be no

meeting in December 2017.” Kossack Decl. ¶ 14, Dunlap v. Presidential Advisory Comm’n on

Election Integrity, 17-cv-2361 (D.D.C. Nov. 9, 2017), ECF No. 30-3.

          149.   On November 9, 2017, after being blocked from the Pence-Kobach Commission’s

internal communications and materials, Commissioner Dunlap sued the Pence-Kobach

Commission and others in order to access the Commission’s information and in order to validate

his rights of participation on the Commission. Compl., Dunlap v. Presidential Advisory Comm’n

on Election Integrity, 17-cv-2361 (D.D.C. Nov. 9, 2017), ECF No. 1.

          150.   Following the filing of Commissioner Dunlap’s Complaint, Commissioner Adams

tweeted, “Seems like @HvonSpakovsky was onto something:” and attaching a link to a news

article regarding Commissioner Dunlap’s Complaint, J. Christian Adams (@ElectionLawCtr),

Twitter      (Nov.    9,   2017     10:58    AM),     https://twitter.com/ElectionLawCtr/status/

928652951614382080, an apparent reference to Commissioner von Spakovsky’s February 22,

2017 e-mail insisting that no Democrats or mainstream Republicans should be included on the

Commission.

          151.   On November 20, 2017, Commissioners von Spakovsky and Adams doubled

down on their attacks of Commissioner Dunlap and his request for information regarding the

Pence-Kobach Commission’s activities, penning an op-ed accusing Commissioner Dunlap of

“lying” in court filings. Hans von Spakovsky & J. Christian Adams, One Democrat on Trump’s

Electoral Integrity Commission Is Misleading the Public with Complaints About Its Work, Wash.

Examiner (Nov. 20, 2017), http://www.washingtonexaminer.com/one-democrat-on-trumps-

electoral-integrity-commission-is-misleading-the-public-with-complaints-about-its-

work/article/2641268.



                                              45
          Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 46 of 59



                                     CLAIMS FOR RELIEF

          152.   District courts have “jurisdiction under the APA to review final agency actions for

which there is no other adequate remedy,” including failure to comply with FACA. Ctr. for

Biological Diversity v. Tidwell, 239 F. Supp. 213, 221 (D.D.C. 2017).

          153.   District courts have the authority to review agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law” or “in excess of

statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2). Federal courts also have

non-statutory jurisdiction to review ultra vires actions, as an inherent power of the courts “‘to

reestablish the limits on [executive] authority.’” Aid Ass’n for Lutherans v. U.S. Postal Serv.,

321 F.3d 1166, 1173 (D.C. Cir. 2003) (quoting Dart v. United States, 848 F.2d 217, 224 (D.C.

Cir. 1988)).

          154.   Where statutory duties are violated, courts may also act pursuant to the

Declaratory Judgment Act, including as an alternative or in addition to granting mandamus

relief, Citizens for Responsibility & Ethics in Wash. v. Cheney, 593 F. Supp. 2d 194, 222 (D.D.C.

2009).

          155.   District courts are authorized to issue relief in the nature of mandamus compelling

federal officials to perform ministerial or nondiscretionary duties. 28 U.S.C. § 1361. Ministerial

or nondiscretionary duties are those “so plainly prescribed as to be free from doubt and

equivalent to a positive command.” Wilbur v. United States ex rel. Kadrie, 281 U.S. 206, 218

(1930).

          156.   All of the duties mandated by FACA are “equivalent to a positive command,”

each using the word “shall” to lay out a mandatory duty. Judicial Watch, Inc. v. Nat’l Energy




                                                 46
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 47 of 59



Policy Dev. Grp., 219 F. Supp. 2d 20, 43 (D.D.C. 2002) (“by virtue of the use of the word shall,

Congress has made [the duty] nondiscretionary”).

                                   First Claim for Relief
          (Violation of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706,
as to Defendants Pence-Kobach Commission, Administrator Horne, CMO Wills, and GSA)

       157.    Defendants have violated the APA by failing to comply with the open meeting

provision of § 10(a) of FACA with respect to both the June 28 telephonic meeting and the July

19 in-person meeting.

       158.    Defendants have violated the APA by failing to make all documents “made

available to” or “provided for or by” the Commission available for public inspection in violation

of § 10(b) of FACA.

       159.    Defendants have violated the APA by failing to keep minutes of the June 28 and

September 12 meetings of the Pence-Kobach Commission, in violation of § 10(c) of FACA , and

by failing to make the minutes available for public inspection in violation of § 10(b) of FACA.

       160.    Defendants have violated the APA by failing to make transcripts of each of the

meetings of the Pence-Kobach Commission, in violation of § 11 of FACA.

       161.    Defendants have violated the APA by taking action prior to the filing of the

Pence-Kobach Commission Charter, in violation of § 9(c) of FACA.

       162.    Despite benefiting from the “political legitimacy” that comes with invoking an

official advisory committee, Cummock v. Gore, 180 F.3d 282, 292 (D.C. Cir. 1999), Defendants

have violated the APA by failing to make provisions to “require the membership of the advisory

committee to be fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee” and to “assure that the advice and recommendations of




                                               47
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 48 of 59



the advisory committee will not be inappropriately influenced by the appointing authority or by

any special interest,” in violation of § 5(b)(2)-(3) of FACA.

       163.    Each of these failures to comply with FACA’s requirements constitutes final

agency action under the APA. 5 U.S.C. § 706.

                                  Second Claim for Relief
          (Violation of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706,
as to Defendants Pence-Kobach Commission, Administrator Horne, CMO Wills, and GSA)

       164.    The Pence-Kobach Commission and those who carry out the activities of the

Commission cannot act arbitrarily and capriciously and “are required to engage in reasoned

decision making.” Michigan v. E.P.A., 135 S. Ct. 2699, 2706 (2015) (internal quotation marks

omitted).

       165.    In making its unprecedented decision to aggregate the personal data of every

registered voter in the United States for the purpose of identifying potential double registration

and other ineligible registrants, Defendants failed to engage in reasoned decision making by

failing to consider all the relevant factors and relying on improper considerations.

       166.    In addition, the Pence-Kobach Commission and those who carry out the activities

of the Commission can only take action which is authorized under the Executive Order

establishing the Commission and defined in the Commission’s Charter.

       167.    Defendants’ actions in undertaking an investigation of particular voters are in

excess of the Pence-Kobach Commission’s legal authority.

       168.    Defendants’ operation of the Pence-Kobach Commission in a way that does not

comply with each of the mandates of FACA is action in excess of legal authority.

       169.    In gathering information, including information regarding activity that is

protected by the First Amendment, in order to investigate particular voters, and in failing to



                                                48
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 49 of 59



comply with FACA, Defendants have acted in excess of statutory jurisdiction and authority and

not in accordance with law, in violation of 5 U.S.C. § 706(2).

                                    Third Claim for Relief
                               (Non-Statutory Ultra Vires Claim)

       170.    The Pence-Kobach Commission was established as a “solely advisory” entity to

“study the registration and voting processes used in Federal elections” and “submit a report to

the President” on related “laws, rules, policies, activities, strategies, and practices.” Exec. Order

No. 13,799, § 3.

       171.    Defendants’ actions in undertaking an investigation of particular voters are in

excess of the Pence-Kobach Commission’s legal authority.

       172.    Defendants’ actions in collecting individual data about American voters without

taking sufficient action to guard against privacy and security risks is in excess of the Pence-

Kobach Commission’s legal authority.

       173.    As Defendants are acting without legal authorization, their actions are ultra vires.

                                  Fourth Claim for Relief
             (For Declaratory Judgment, as provided for by 28 U.S.C. § 2201-02,
           that Defendants Are in Violation of FACA, 5 U.S.C. §§ 5, 9, 10, and 11)

       174.    All meetings of the Pence-Kobach Commission, including those conducted

through an electronic medium, must be open to the public; by conducting a telephonic meeting

on June 28, 2017, without public access, Defendants have violated § 10(a)(1), (3) of FACA.

       175.    All meetings of the Pence-Kobach Commission must be noticed in advance in the

Federal Register; by conducting a telephonic meeting on June 28, 2017, without public access,

Defendants have violated § 10(a)(2) of FACA.

       176.    By failing to create “[d]etailed minutes” of the June 28, 2017 and September 12,

2017 meetings of the Pence-Kobach Commission, Defendants have violated § 10(c) of FACA.


                                                 49
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 50 of 59



       177.    By failing to make available all “the records, reports, transcripts, minutes,

appendixes, working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by” the Pence-Kobach Commission—including those documents

related to the June 28, 2017 telephonic meeting, related to the July 19, 2017 and September 12,

2017 meetings, made available to Vice Chair Kobach in his “official capacity as Vice-Chair of

the Commission,” and all other Commission documents—to the public for “inspection and

copying at a single location” within the office of the Commission, including by failing to make

public the location of the office of the Pence-Kobach Commission and the methods by which the

public can access the Commission’s documents, Defendants violate § 10(b) of FACA. To the

extent the Commission office is contained within the Office of the Vice President, Defendants

further violate § 10(b) of FACA by keeping the documents in an office largely closed to public

access. To the extent the Commission office is contained in the GSA, as represented by the

Designated Federal Officer, Defendants have still failed to make public the particular location of

the office and methods by which the public can access the Commission’s documents.

       178.    By not permitting the public to physically access the July 19 meeting of the

Pence-Kobach Commission, ensuring this is the case by holding the July 19 meeting of the

Pence-Kobach Commission in a building that is closed to the public without advanced screening

and notice of individual attendance, and by providing interrupted livestream access to the July 19

meeting, Defendants have violated § 10(a)(1) of FACA.

       179.    By appointing commissioners who have already publicly supported President

Trump’s conclusion regarding purported illegal voting, demonstrating the Pence-Kobach

Commission membership is predisposed to a particular conclusion without yet having done the

work to study the issues as contemplated in the Executive Order, and purportedly balancing them



                                               50
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 51 of 59



with members having little or no experience or knowledge about the subject matter, and who

have never held similarly high political offices, President Trump has not “require[d] the

membership of the advisory committee . . . be fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee,” in violation of

§ 5(b)(2).

        180.   By failing to make any “appropriate provisions to assure that the advice and

recommendations of the advisory committee will not be inappropriately influenced by the

appointing authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment,” President Trump and the Pence Kobach Commission have

violated § 5(b)(3) of FACA.

        181.   By undertaking substantive action, including devising the collection of voter data

prior to the filing of the Pence-Kobach Commission charter, Defendants have violated § 9(c) of

FACA.

        182.   By failing to make transcripts of each meeting of the Pence-Kobach Commission,

including the June 28, July 19, and September 12 meetings, Defendants have violated § 11 of

FACA.

        183.   Plaintiffs are entitled to a declaration under 28 U.S.C. § 2201 that the foregoing

conduct violates FACA.

                                 Fifth Claim for Relief
     (For Relief in the Nature of Mandamus, as provided for by 28 U.S.C. § 1361,
     Compelling Defendants Vice President Pence, the Pence-Kobach Commission,
                   Administrator Horne, CMO Wills, and the GSA to
 Comply with their Non-Discretionary Duties of Section 10 of FACA, 5 U.S.C. app. 2 § 10)

        184.   By holding a telephonic meeting of the Pence-Kobach Commission, without

providing advance notice in the Federal Register, and by not holding the meeting open to the



                                               51
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 52 of 59



public or providing an option for public comment, Defendants have failed to carry out the non-

discretionary openness requirements of § 10(a)(1)-(3) of FACA.

        185.   By failing to create “[d]etailed minutes” of the June 28, 2017 and September 12,

2017 meetings of the Pence-Kobach Commission, Defendants have failed to carry out the non-

discretionary openness requirements of § 10(c) of FACA.

        186.   By failing to make available all “the records, reports, transcripts, minutes,

appendixes, working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by” the Pence-Kobach Commission for the June 28, 2017, July 19,

2017, and September 12, 2017 meetings to the public for “inspection and copying at a single

location” within the office of the Commission, including by failing to make public the location of

the office of the Pence-Kobach Commission and the methods by which the public can access the

Commission’s documents, Defendants have failed to carry out the non-discretionary openness

requirements of § 10(b) of FACA. To the extent the Commission office is contained within the

Office of the Vice President, Defendants further violate § 10(b) of FACA by keeping the

documents in an office largely closed to public access. To the extent the Commission office is

contained in the GSA, as represented by the Designated Federal Officer, Defendants have still

failed to make public the particular location of the office and methods by which the public can

access the Commission’s documents.

        187.   By failing to provide a transcript of the June 28, 2017 telephonic meeting, and the

July 19, 2017 and September 12, 2017 meetings of the Pence-Kobach Commission at the cost of

duplication, Defendants have failed to carry out the non-discretionary requirements of § 11(a) of

FACA.




                                               52
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 53 of 59



       188.    By failing to make available all “the records, reports, transcripts, minutes,

appendixes, working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by” the Pence-Kobach Commission since its inception, to the

public for “inspection and copying at a single location” within the office of the Commission,

including by failing to make public the location of the office of the Pence-Kobach Commission,

and to the extent the Commission office is contained within the Office of the Vice President, by

keeping the documents in an office largely closed to public access, Defendants have failed to

carry out the non-discretionary openness requirements of § 10(b) of FACA.

       189.    By failing to make available the agenda and all documents made available to

and/or prepared for or by the Pence-Kobach Commission members in advance of the July 19,

2017 and September 12, 2017 meetings to the public for inspection and copying, including by

failing to make public the location of the office of the Pence-Kobach Commission and the

methods by which the public can access the Commission’s documents, Defendants have failed to

carry out the non-discretionary openness requirements of § 10(b) of FACA. To the extent the

Commission office is contained within the Office of the Vice President, Defendants further

violate § 10(b) of FACA by keeping the documents in an office largely closed to public access.

To the extent the Commission office is contained in the GSA, as represented by the Designated

Federal Officer, Defendants have still failed to make public the particular location of the office

and methods by which the public can access the Commission’s documents.

       190.    By failing to make available all documents provided to Secretary Kobach in his

“official capacity as Vice-Chair of the Commission,” see Kobach Declaration ¶ 2, to the public

for “inspection and copying at a single location” within the office of the Commission,




                                               53
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 54 of 59



Defendants have failed to carry out the non-discretionary openness requirements of § 10(b) of

FACA.

        191.   By holding the July 19 meeting of the Pence-Kobach Commission in a building

that is closed to the public without advanced screening, by not permitting the public to physically

access the July 19 meeting of the Pence-Kobach Commission and by providing remote access

that was inaccessible due to technical difficulties, Defendants have failed to carry out the non-

discretionary open meeting requirement of § 10(a)(1) of FACA.

                                    Sixth Claim for Relief
        (For Relief in the Nature of Mandamus, as provided for by 28 U.S.C. § 1361,
          Compelling Defendants to Comply with their Non-Discretionary Duties
                          of Section 5 of FACA, 5 U.S.C. app. 2 § 5)

        192.   In stacking the Commission with individuals who have already publicly supported

President Trump’s false statements regarding purported illegal voting, demonstrating the Pence-

Kobach Commission membership is predisposed to a particular conclusion without yet having

done the work to study the issues as contemplated in the Executive Order, and purportedly

balancing them with members with little or no experience, President Trump has not “require[d]

the membership of the advisory committee . . . be fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee,” which is a non-

discretionary duty under FACA. 5 U.S.C. app. 2 § 5(b)(2).

        193.   In appointing Secretary of State Kobach, who publicly affirmed President

Trump’s claims of voter fraud without evidence, as co-chair of the Commission, President

Trump has not made “appropriate provisions to assure that the advice and recommendations of

the advisory committee will not be inappropriately influenced by the appointing authority or by

any special interest” which is a non-discretionary duty under FACA. 5 U.S.C. app. 2 § 5(b)(3).




                                                54
        Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 55 of 59



       194.    In appointing members von Spakovsky, Adams, Blackwell, Gardner, and

McCormick, President Trump has not made “appropriate provisions to assure that the advice and

recommendations of the advisory committee will not be inappropriately influenced by the

appointing authority or by any special interest,” which is a non-discretionary duty under FACA.

5 U.S.C. app. 2 § 5(b)(3). Commissioners von Spakovsky, Adams, and Blackwell have each

publicly affirmed the existence of massive numbers of “illegal votes,” in line with the narrative

of President Trump in the creation of the Pence-Kobach Commission. Commissioner Gardner

has likewise made unfounded claims about illegal voting, and Commissioner McCormick has

supported policies and practices that have disenfranchised voters.

       195.    By failing to make provisions to “require the membership of the advisory

committee to be fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee,” and “to assure that the advice and recommendations of

the advisory committee will not be inappropriately influenced by the appointing authority or any

special interest,” 5 U.S.C. app. 2 § 5(b)(2)-(3), Defendants have violated a non-discretionary

duty under FACA.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       (1) Issue injunctive relief ordering Defendants

           a. to make all records, reports, transcripts, minutes, appendixes, working papers,

               drafts, studies, agenda, or other documents which were made available to or

               prepared for or by the Pence-Kobach Commission open for public inspection;

           b. to hold all meetings of the Commission, including meetings conducted by

               telephone or other electronic medium, open to the public;



                                               55
Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 56 of 59



   c. to cease all activities that have no reasoned basis and/or are not provided for in

      the Executive Order establishing the parameters under which the Pence-Kobach

      Commission can operate, including ceasing all activity aimed at investigating

      particular voters;

   d. to make provisions to “require the membership of the advisory committee to be

      fairly balanced in terms of the points of view represented and the functions to be

      performed by the advisory committee,” and “to assure that the advice and

      recommendations of the advisory committee will not be inappropriately

      influenced by the appointing authority or any special interest”; and

   e. to cease all action by the Commission until it is properly constituted.

(2) Grant relief in the nature of mandamus compelling Defendants to perform all

   nondiscretionary duties required by FACA, including:

   a. holding all meetings of the Commission, including meetings conducted by

      telephone or other electronic medium, open to the public.          5 U.S.C. app. 2

      § 10(a)(1);

   b. publishing timely notice in the Federal Register of every meeting of the Pence-

      Kobach Commission. 5 U.S.C. app. 2 § 10(a)(2);

   c. keeping “[d]etailed minutes” of each meeting. 5 U.S.C. app. 2 § 10(c);

   d. requiring that “the records, reports, transcripts, minutes, appendixes, working

      papers, drafts, studies, agenda, or other documents which were made available to

      or prepared for or by [the Pence-Kobach Commission] shall be available for

      public inspection and copying.” 5 U.S.C. app. 2 § 10(b);




                                        56
Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 57 of 59



   e. requiring that Defendants “make available to any person, at actual cost of

       duplication, copies of transcripts” of each meeting and proceeding. 5 U.S.C. app.

       2 § 11(a);

   f. requiring “the membership of the advisory committee to be fairly balanced in

       terms of the points of view represented and the functions to be performed by the

       advisory committee.” 5 U.S.C. app. 2 § 5(b)(2);

   g. requiring that Defendants make “appropriate provisions to assure that the advice

       and recommendations of the advisory committee will not be inappropriately

       influenced by the appointing authority or by any special interest, but will instead

       be the result of the advisory committee’s independent judgment.” 5 U.S.C. app. 2

       § 5(b)(3).

(3) Declare that the Defendants have violated §§ 5, 9, 10, 11 of FACA, including:

   a. that Defendants violated § 10(a)(1), (3) of FACA by holding the June 28, 2017

       meeting of the Pence-Kobach Commission;

   b. that Defendants violated § 10(a)(2) of FACA by holding the June 28, 2017

       meeting of the Pence-Kobach Commission without first publishing advance

       notice in the Federal Register;

   c. that Defendants violated § 10(c) of FACA by failing to create “detailed minutes”

       of the June 28, 2017 and September 12, 2017 meetings of the Pence-Kobach

       Commission;

   d. that Defendants violate § 10(b) of FACA by failing to make available all the

       Pence-Kobach Commission documents—including those documents related to the

       June 28, 2017 telephonic meeting, related to the July 19, 2017 and September 12,



                                         57
Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 58 of 59



     2017 in-person meetings, made available to Vice Chair Kobach in his “official

     capacity as Vice-Chair of the Commission,” and all other Commission

     documents—to the public for “inspection and copying at a single location” within

     the office of the Commission, including by failing to make public the location of

     the office of the Pence-Kobach Commission and the methods by which the public

     can access the Commission’s documents, including, to the extent the Commission

     office is contained within the Office of the Vice President, by keeping the

     documents in an office largely closed to public access, and, to the extent the

     Commission office is contained in the GSA, by failing to make public the

     particular location of the office and methods by which the public can access the

     Commission’s documents;

  e. that Defendants violated § 10(a)(1) of FACA by not permitting the public to

     physically access the July 19 meeting of the Pence-Kobach Commission, and

     ensuring this is the case by holding the July 19 meeting of the Pence-Kobach

     Commission in a building that is closed to the public without advanced screening

     and notice of individual attendance, and by conducting a livestream which was

     not continuously available for public viewing;

  f. that Defendants have violated § 9(c) of FACA by taking action prior to the filing

     of the Pence-Kobach Commission Charter.

  g. that Defendants have violated § 5(b)(2) of FACA by failing to “require the

     membership of the advisory committee . . . be fairly balanced in terms of the

     points of view represented and the functions to be performed by the advisory

     committee;” and



                                     58
      Case 1:17-cv-01351-CKK Document 30 Filed 01/03/18 Page 59 of 59



         h. that Defendants have violated § 5(b)(3) of FACA by not making any provision “to

             assure that the advice and recommendations of the advisory committee will not be

             inappropriately influenced by the appointing authority or by any special interest,

             but will instead be the result of the advisory committee’s independent judgment.

      (4) Grant any other relief that the Court may deem just and proper.


                                       Respectfully submitted,

                                       /s/ Dale E. Ho
                                       Dale E. Ho (D.C. Bar No. NY0142)
                                       Theresa J. Lee**
                                       Sophia Lin Lakin**
                                       American Civil Liberties Union Foundation, Inc.
                                       125 Broad Street, 18th Floor
                                       New York, NY 10004
                                       Tel.: 212.549.2686
                                       dho@aclu.org
                                       tlee@aclu.org
                                       slakin@aclu.org
                                       **pro hac vice

                                       Arthur B. Spitzer (D.C. Bar No. 235960)
                                       American Civil Liberties Union Foundation
                                         of the District of Columbia
                                       915 15th Street, NW, 2nd Floor
                                       Washington, DC 20005
                                       Tel.: 202-457-0800
                                       aspitzer@acludc.org


Dated: December 12, 2017




                                              59
